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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


KEITH PHELAN,

                      Defendant/Petitioner,             Case Number: 03-CV-73942-DT
                                                                     98-CR-80812-02
v.
                                                        JUDGE PAUL D. BORMAN
UNITED STATES OF AMERICA,                               UNITED STATES DISTRICT COURT

                  Plaintiff/Respondent.
___________________________________ /


ORDER ACCEPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
  IN FAVOR OF DENYING PETITIONER’S MOTION TO VACATE SENTENCE
                    PURSUANT TO 28 U.S.C. § 2255


        Before the Court is the Magistrate Judge’s Report and Recommendation in favor of

denying Petitioner’s Motion to Vacate Sentence Pursuant to 28 U.S.C. § 2255.

        Having reviewed that Report and Recommendation, Petitioner’s objections thereto, and

Respondent’s reply to those objections, the Court enters as its findings and conclusions the

Report and Recommendation in favor of denying Petitioner’s motion to vacate his sentence.

        The Court notes that the Supreme Court’s intervening decision in United States v.

Booker, – U.S. –, 125 S.Ct. 738 (2005), now governs Petitioner’s claim under Blakely v.

Washington, – U.S. –, 124 S.Ct. 2531 (2004). Booker applied “the Blakely reasoning to the

Federal Sentencing Guidelines,” and held that “‘[a]ny fact (other than a prior conviction) which

is necessary to support a sentence exceeding the maximum authorized by the facts established by

a plea of guilty or a jury verdict must be admitted by the defendant or proved to a jury beyond a


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reasonable doubt.’” Humphress v. United States, 398 F.3d 855, 860 (6th Cir. 2005) (quoting

Booker, 125 S.Ct. at 756). Yet, Booker does not apply retroactively to cases that are already

final on direct review, as in Petitioner’s case. Id. at 857.




SO ORDERED.


                                               s/Paul D. Borman
                                               PAUL D. BORMAN
                                               UNITED STATES DISTRICT JUDGE

Dated: September 2, 2005

                                   CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
September 2, 2005.


                                               s/Jonie Parker
                                               Case Manager




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